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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
               ______________________
TRAVIS WELCH,
                           Plaintiff,                               MEMORANDUM OF
                                                                    LAW IN SUPPORT OF
                                                                    DEFENDANTS’ MOTION
                                                                    IN LIMINE



        v.                                                          Case No. 16-cv-6520

CITY OF ROCHESTER, ROCHESTER POLICE
DEPARTMENT, ROCHESTER POLICE OFFICER
PATRICK GIANCURSIO, ROCHESTER POLICE
OFFICER WILLIAM WAGNER, AND
OTHER UNNAMED OFFICERS

                                  Defendants.
                _________________________



        Defendants submit this Memorandum of Law in support of their Motion in Limine
seeking dismissal preclusion of previously undisclosed medical and video evidence presented for
the first time as part of Plaintiff’s proposed trial exhibits.


Damage Claims:

        Plaintiff has failed to either plead or disclose the nature and extent of his injuries, or
supply Defendants with any treatment records or the names of any treatment providers. At the
inception of a lawsuit parties are obligated to disclose “each individual likely to have
discoverable information that the disclosing party may use to support his claim.” Fed. R. Civ. P.
26(a)(1)(A).     “Such initial disclosure must be made based on information then reasonably
available to the disclosing party regardless of whether he has yet to complete his investigation of
the case. Fed. R. Civ. P. 26(a)(1)(E). A party is also affirmatively bound to supplement
incomplete or incorrect disclosures with later acquired information. The failure to discharge
those obligations precludes a party from using the withheld information as evidence at trial. Fed.
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R. Civ. P. 37(c)(1). Stover v. Northland Group, Inc., 2007 U.S. Dist. LEXIS 49029, 200 WL
196724 at 2-3 (W.D.N.Y. 2007).


          Moreover, in Banushi v. Police Officer Alvin L. Palmer Shield No. 04009 & Equashia
Allen, 2011 U.S. Dist. LEXIS 419 (E.D.N.Y) the Court held “[T]reating physicians may testify
as   to    opinions   formed   during   their   treatment,   including causation,   severity,   disability,
permanency and future impairments, without the obligation to submit an expert report.” aff'd 612
F.3d 149 (2d Cir. 2010). “On the other hand, testimony is precluded because plaintiff did not
identify or produce documents from the physician during the discovery phase of this case.”
Gotlin v. Lederman, No.. 04 CV 3736, 2010 U.S. Dist. LEXIS 43101, at 19 (E.D.N.Y.
2010) (granting motion to preclude testimony of a witness not identified until two years after
discovery closed).


          Accordingly, all proof of damages should be excluded.


Video Evidence:


          Plaintiff is apparently using unauthenticated and previously undisclosed videos involving
different facts, circumstances and parties to establish character/habit of the Defendants.
However, pursuant to USCS Fed Rules Evid R 404:

b) Crimes, Wrongs, or Other Acts.
(1) Prohibited Uses. Evidence of a crime, wrong, or other act is not admissible to prove a
person’s character in order to show that on a particular occasion the person acted in accordance
with the character.

(2) Permitted Uses; Notice in a Criminal Case. This evidence may be admissible for another
purpose, such as proving motive, opportunity, intent, preparation, plan, knowledge, identity,
absence of mistake, or lack of accident. On request by a defendant in a criminal case, the
prosecutor must:

     (A) provide reasonable notice of the general nature of any such evidence that the prosecutor
         intends to offer at trial; and

     (B) do so before trial—or during trial if the court, for good cause, excuses lack of pretrial
     notice.
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`       Plaintiff may not use these videos to establish character, and to the limited extent such
evidence is admissible, Plaintiff has not provided reasonable notice of the general nature of the
evidence so as to permit Defendants to investigate and properly defend—making the use of such
material unfairly prejudicial.


        Moreover, Plaintiff failed to disclose the video or the names of individuals with
knowledge of the video. Moreover, the names of individuals who may be able to authenticate
the video, and from whom the video was sourced were also not disclosed pursuant to Rule 26 (c),
triggering preclusion under FRCP Rule 37.


        Additionally, the videos are neither relevant nor admissible. In Worthy v. City of Buffalo,
2013 U.S. Dist. LEXIS 146242 (W.D.N.Y 2013) the Court stated that it is unlikely that evidence
relating to unsubstantiated claims of excessive force be admissible. The Court cited Crenshaw v.
Herbert 409 Fed.Appz. 428 (2d. Cir. 2011) in holding that even if evidence of a prior
substantiated excessive force investigation existed, such evidence would not be relevant to the
particular facts of the case at bar. Crenshaw at 430. In Richir v. Vill. of Fredonia, 2008 U.S.
Dist. LEXIS 28032 (W.D.N.Y 2008) the Court held that arrest records and incidents not
involving Plaintiff were not appropriate for disclosure. In denying plaintiff’s motion to compel,
in part, the Court found that only arrest and incident reports related to Plaintiff were germane to
his case—despite his broad allegations of general harassment by the Fredonia Police
Department.


        For the reasons stated above the video evidence, proffered on the eve of trial, should be
excluded.


        WHEREFORE, it is respectfully requested that Defendants’ Motion in Limine be
granted, together with such other and further relief as the Court deems just and proper, including
awarding to Defendants the costs and disbursements of this proceeding.



DATED: January 29, 2018
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                                    BRIAN F. CURRAN
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